          Case 3:20-cv-00133-JCH Document 53 Filed 03/20/20 Page 1 of 12



                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


    __________________________________
    JAKUB MADEJ
                                                          CIVIL ACTION no. 3:20-cv-00133-JCH
          Plaintiff,

    v.

    YALE UNIVERSITY, MARVIN CHUN,
    MARK SCHENKER, PETER SALOVEY,
    JESSIE ROYCE HILL             MARCH 17, 2020

          Defendants.
    __________________________________


                                        NOTICE OF DEPOSITION


        PLEASE TAKE NOTICE that Plaintiff Jakub Madej will take the in-person deposition of
the following individuals, pursuant to Rules 28 and 30 of the Federal Rules of Civil Procedure:

         Deponents:        Mark Schenker
                           Keshav Raghavan
                           Daria Vander Veer
         Date:             March 20, 2020 (Friday)
         Time:             9:00 am
         Address:          1157 Chapel Street, New Haven, CT 06511

       PLEASE TAKE NOTICE that the deposition may continue from day to day thereafter,
Sundays and unforeseeable emergencies excepted, until completed. If warranted by extraordinary
reasons and expressly stipulated by both parties 1, deposition may be conducted remotely via
conferencing software in the Zoom Virtual Deposition Room:

         Place:            Zoom Virtual Deposition Room (VDR)
         Address:          lawsheet.com/vdr
         Password:         would be provided to all parties prior to deposition

1
  Parties must exchange in writing such an express stipulation. This express stipulation must contain the following
language:

         “I agree to hold this deposition virtually in the Zoom Virtual Deposition Room. I believe extraordinary
reasons exist that prevent this deposition from happening in person at the time and day requested”.


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        PLEASE TAKE FURTHER NOTICE that Plaintiff reserves the right to present exhibits
electronically in real time. Such exhibits would be made available to the witness and counsel in
real time. The deposition will be under oath taken before a Certified Shorthand Reporter or other
qualified notary.

        The deposition will be recorded by audio means and might be videotaped. You are invited
to attend and cross-examine. Jakub reserves the right to use the videotape deposition at the time of
emergency motion hearings, including his March 26, 2020 hearing, and at future proceedings
before the Honorable Court.

        PLEASE TAKE NOTICE that Mark Schenker is requested to bring and produce at the time
of his deposition:

               i)      all correspondence and other written communication regarding the
                       Committee’s decision to dismiss Jakub for academic reasons;
               ii)     a list of members that were present at the January 13, 2020 meeting where
                       the Committee decided to dismiss Jakub for academic reasons;

        PLEASE TAKE NOTICE that all deponents are requested to bring and produce at the time
of their deposition an affidavit or a declaration 2 where they clearly and unambiguously answer the
following questions:
                (i)     the Committee exists in reality;
                (ii)    he/she has been a member of the Committee, and if so, how his/her
                        membership in the Committee was decided;
                (iii) he/she is aware of any written rules, policies, and procedures that govern
                        the Committee’s work;
                (iv)    he/she believes that it would be a fair statement that “the Committee does it
                        work “via written statements and documents”;
                (v)     the Committee met on January 13, 2020, and if so, when and where;
                (vi)    he/she was present on Committee’s January 13, 2020 meeting;
                (vii) he/she received Jakub’s petition in advance of the Committee’s January 13,
                        2020 meeting, and if so, by what means, what day and time did he/she
                        receive it;




2
  Jakub respectfully requests that every affidavit and every declaration Defendants proffer at all
stages of discovery contain the following language:
         “I declare under penalty of perjury that everything I wrote in this document is
         true and correct. I understand what the penalty of perjury is. I also understand
         that perjury is a crime under the laws of the United States.

         I am familiar with specific penalties the Honorable Court may impose on me if
         I am found guilty of perjury. I am aware that perjury is a felony punishable with
         a prison sentence of up to five years under 18 U.S.C. § 1621.”

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             (viii) he/she believes that it would be a fair to say he/she (a) read Jakub’s petition
                    in advance of the hearing, and (b) spent a reasonable amount of time
                    understanding Jakub’s arguments;
             (ix)   the Committee discussed Jakub’s petition not to be dismissed for academic
                    reasons, and evaluated the nine arguments Jakub outlined in his petition;
             (x)    the Committee unanimously voted not to grant Jakub’s request to continue
                    his education at Yale College;
             (xi)   he/she voted not to grant Jakub’s petition.


Dated: March 17, 2020 in New Haven, Connecticut.

                                                           Respectfully submitted,

                                                           /s/ Jakub Madej

                                                           The Plaintiff
                                                           535 Fifth Avenue, 16th Floor
                                                           New York, NY 10017
                                                           j.madej@lawsheet.com
                                                           Telephone: (646) 776-0066
                                                           Facsimile: (203) 928-8486
                                                           Fax: (203) 902-0070




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                                 CERTIFICATE OF SERVICE

I hereby certify that, on the above-written date, a copy of foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.

                                                              /s/ Jakub Madej

                                                              The Plaintiff
                                                              Telephone: (646) 776-0066




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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


    __________________________________
    JAKUB MADEJ
                                                          CIVIL ACTION no. 3:20-cv-00133-JCH
          Plaintiff,

    v.

    YALE UNIVERSITY, MARVIN CHUN,
    MARK SCHENKER, PETER SALOVEY,
    JESSIE ROYCE HILL             MARCH 17, 2020

          Defendants.
    __________________________________


                                        NOTICE OF DEPOSITION


        PLEASE TAKE NOTICE that Plaintiff Jakub Madej will take the in-person deposition of
the following individuals, pursuant to Rules 28 and 30 of the Federal Rules of Civil Procedure:

         Deponents:        Sarah Insley
                           Dana Angluin
         Date:             March 20, 2020 (Friday)
         Time:             1:00 pm
         Address:          1157 Chapel Street, New Haven, CT 06511

       PLEASE TAKE NOTICE that the deposition may continue from day to day thereafter,
Sundays and unforeseeable emergencies excepted, until completed. If warranted by extraordinary
reasons and expressly stipulated by both parties 1, deposition may be conducted remotely via
conferencing software in the Zoom Virtual Deposition Room:

         Place:            Zoom Virtual Deposition Room (VDR)
         Address:          lawsheet.com/vdr
         Password:         would be provided to all parties prior to deposition


1
  Parties must exchange in writing such an express stipulation. This express stipulation must contain the following
language:

         “I agree to hold this deposition virtually in the Zoom Virtual Deposition Room. I believe extraordinary
reasons exist that prevent this deposition from happening in person at the time and day requested”.


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        PLEASE TAKE FURTHER NOTICE that Plaintiff reserves the right to present exhibits
electronically in real time. Such exhibits would be made available to the witness and counsel in
real time. The deposition will be under oath taken before a Certified Shorthand Reporter or other
qualified notary.

        The deposition will be recorded by audio means and might be videotaped. You are invited
to attend and cross-examine. Jakub reserves the right to use the videotape deposition at the time of
emergency motion hearings, including his March 26, 2020 hearing, and at future proceedings
before the Honorable Court.

        PLEASE TAKE NOTICE that all deponents are requested to bring and produce at the time
of his deposition:

               i)      all correspondence and other written communication regarding the
                       Committee’s decision to dismiss Jakub for academic reasons;
               ii)     a list of members that were present at the January 13, 2020 meeting where
                       the Committee decided to dismiss Jakub for academic reasons;

        PLEASE TAKE NOTICE that all deponents are requested to bring and produce at the time
of their deposition an affidavit or a declaration 2 where they clearly and unambiguously answer the
following questions:
                (i)     the Committee exists in reality;
                (ii)    he/she has been a member of the Committee, and if so, how his/her
                        membership in the Committee was decided;
                (iii) he/she is aware of any written rules, policies, and procedures that govern
                        the Committee’s work;
                (iv)    he/she believes that it would be a fair statement that “the Committee does it
                        work “via written statements and documents”;
                (v)     the Committee met on January 13, 2020, and if so, when and where;
                (vi)    he/she was present on Committee’s January 13, 2020 meeting;
                (vii) he/she received Jakub’s petition in advance of the Committee’s January 13,
                        2020 meeting, and if so, by what means, what day and time did he/she
                        receive it;




2
  Jakub respectfully requests that every affidavit and every declaration Defendants proffer at all
stages of discovery contain the following language:
         “I declare under penalty of perjury that everything I wrote in this document is
         true and correct. I understand what the penalty of perjury is. I also understand
         that perjury is a crime under the laws of the United States.

         I am familiar with specific penalties the Honorable Court may impose on me if
         I am found guilty of perjury. I am aware that perjury is a felony punishable with
         a prison sentence of up to five years under 18 U.S.C. § 1621.”

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             (viii) he/she believes that it would be a fair to say he/she (a) read Jakub’s petition
                    in advance of the hearing, and (b) spent a reasonable amount of time
                    understanding Jakub’s arguments;
             (ix)   the Committee discussed Jakub’s petition not to be dismissed for academic
                    reasons, and evaluated the nine arguments Jakub outlined in his petition;
             (x)    the Committee unanimously voted not to grant Jakub’s request to continue
                    his education at Yale College;
             (xi)   he/she voted not to grant Jakub’s petition.


Dated: March 17, 2020 in New Haven, Connecticut.

                                                           Respectfully submitted,

                                                           /s/ Jakub Madej

                                                           The Plaintiff
                                                           535 Fifth Avenue, 16th Floor
                                                           New York, NY 10017
                                                           j.madej@lawsheet.com
                                                           Telephone: (646) 776-0066
                                                           Facsimile: (203) 928-8486
                                                           Fax: (203) 902-0070




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                                 CERTIFICATE OF SERVICE

I hereby certify that, on the above-written date, a copy of foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.

                                                              /s/ Jakub Madej

                                                              The Plaintiff
                                                              Telephone: (646) 776-0066




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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


    __________________________________
    JAKUB MADEJ
                                                CIVIL ACTION no. 3:20-cv-00133-JCH
          Plaintiff,

    v.

    YALE UNIVERSITY, MARVIN CHUN,
    MARK SCHENKER, PETER SALOVEY,
    JESSIE ROYCE HILL             MARCH 17, 2020

          Defendants._______
    ____________


                                 NOTICE OF DEPOSITION


        PLEASE TAKE NOTICE that Plaintiff Jakub Madej will take the in-person deposition of
the following individuals, pursuant to Rules 28 and 30 of the Federal Rules of Civil Procedure:

         Deponents:    Jessie Royce Hill
                       Michelle Tracey
         Date:         March 21, 2020 (Saturday)
         Time:         9:00 am
         Address:      1157 Chapel Street, New Haven, CT 06511


       PLEASE TAKE NOTICE that the deposition may continue from day to day thereafter,
Sundays and unforeseeable emergencies excepted, until completed. If warranted by extraordinary
reasons and expressly stipulated by both parties 1, deposition may be conducted remotely via
conferencing software in the Zoom Virtual Deposition Room:


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day requested”.
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       Place:          Zoom Virtual Deposition Room (VDR)
       Address:        lawsheet.com/vdr
       Password:       would be provided to all parties prior to deposition

        PLEASE TAKE FURTHER NOTICE that Plaintiff reserves the right to present exhibits
electronically in real time. Such exhibits would be made available to the witness and counsel in
real time. The deposition will be under oath taken before a Certified Shorthand Reporter or other
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to attend and cross-examine. Jakub reserves the right to use the videotape deposition at the time of
emergency motion hearings, including his March 26, 2020 hearing, and at future proceedings
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of his deposition:
                i)  all correspondence and other written communication regarding the
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        PLEASE TAKE NOTICE that all deponents are requested to bring and produce at the time
of their deposition an affidavit or a declaration 2 where they clearly and unambiguously answer the
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2
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             (iv)   he/she believes that it would be a fair statement that “the Committee does it
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             (v)    the Committee met on January 13, 2020, and if so, when and where;
             (vi)   he/she was present on Committee’s January 13, 2020 meeting;
             (vii) he/she received Jakub’s petition in advance of the Committee’s January 13,
                    2020 meeting, and if so, by what means, what day and time did he/she
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                    his education at Yale College;
             (xi)   he/she voted not to grant Jakub’s petition.


Dated: March 17, 2020 in New Haven, Connecticut.

                                                           Respectfully submitted,

                                                           /s/ Jakub Madej

                                                           The Plaintiff
                                                           535 Fifth Avenue, 16th Floor
                                                           New York, NY 10017
                                                           j.madej@lawsheet.com
                                                           Telephone: (646) 776-0066
                                                           Facsimile: (203) 928-8486
                                                           Fax: (203) 902-0070




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                                 CERTIFICATE OF SERVICE

I hereby certify that, on the above-written date, a copy of foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.
                                                              /s/ Jakub Madej

                                                              The Plaintiff
                                                              Telephone: (646) 776-0066




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